            Case 2:20-cv-00123-JTR                  ECF No. 20        filed 05/25/21       PageID.571 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                                                                  FILED IN THE
                                                                                                              U.S. DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                                  for thH_
                                                     Eastern District of Washington                     May 25, 2021
                                                                                                              SEAN F. MCAVOY, CLERK
                        PAULETTE M.,
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-CV-00123-JTR
                                                                     )
                                                                     )
              ANDREW M. SAUL,
       COMMISSIONER OF SOCIAL SECURITY,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 16, is GRANTED IN PART.
u
              Defendant’s Motion for Summary Judgment, ECF No. 17, is DENIED.
              The matter is REMANDED to the Commissioner for additional proceedings consistent with Order filed at ECF No. 19.
              Judgment entered for the Plaintiff.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge               John T. Rogers                                                 on a Motions for Summary Judgment.




Date: 5/25/2021                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                            Sara Gore
